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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION                                                ENTERED
                                                                                             03/10/2021
IN RE:                                         §
MCDERMOTT INTERNATIONAL, INC.,                 §       CASE NO: 20-30336
et al,                                         §
       Debtors.                                §       CHAPTER 11
                                               §
MICHAEL VAN DEELEN,                            §
     Plaintiff,                                §
                                               §
VS.                                            §       ADVERSARY NO. 20-3309
                                               §
DAVID DICKSON, et al,                          §
      Defendants.                              §

                       ORDER DENYING MOTION TO RECUSE


      For the reasons set forth on the record, the motion to recuse Chief Judge Jones is denied.
       SIGNED 03/10/2021


                                                   ___________________________________
                                                                 Marvin Isgur
                                                        United States Bankruptcy Judge




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